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                 UNITED STATES DISTRICT COURT FOR THE
                    NORTHERN DISTRICT OF FLORIDA
                         TALLAHASSEE DIVISION

SEAN P. REILLY,

       Petitioner,

v.                                                     Case No. 4:20-cv-145-TKW/EMT

MARK S. INCH,

       Respondent.
                                                /

                                         ORDER

       This case is before the Court based on the magistrate judge’s Report and

Recommendation (R&R) (Doc. 20), Petitioner’s motion requesting an evidentiary

hearing (Doc. 21), Petitioner’s memorandum of law in support of motion to expand

the record (Doc. 22),1 and Petitioner’s objections to the R&R (Doc. 27) The R&R

recommends dismissal of Petitioner’s habeas petition on jurisdictional grounds

without reaching the merits, whereas Petitioner’s post-R&R motions seek relief

related to the merits of the petition.

       The Court reviewed the issues raised in the objections de novo pursuant to

Fed. R. Civ. P. 72(b)(3). Based on that review, the Court agrees with the magistrate

judge’s determination that Petitioner’s habeas petition should be dismissed on




       1
          The record does not contain a separate motion to expand the record, so the memorandum
will be treated as a motion.
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jurisdictional grounds. That ruling renders Petitioner’s post-R&R motions moot.

      Accordingly, it is ORDERED that:

      1.    The R&R is adopted and incorporated by reference in this order.

      2.    Petitioner’s habeas petition (Doc. 1) is DISMISSED.

      3.    A certificate of appealability is DENIED.

      4.    Petitioner’s post-R&R motions (Docs. 21, 22) are DENIED as moot.

      5.    The Clerk shall close the case file.

      DONE AND ORDERED this 22nd day of March, 2021.

                                        T. Kent Wetherell, II
                                      T. KENT WETHERELL, II
                                      UNITED STATES DISTRICT JUDGE




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